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 8                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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      JOSEPH NEEV, an individual,              Case No. 8:15-cv-00336-JVS-JCG
11

12                   Plaintiff,
13          v.
14
      ALCON LABORATORIES, INC.,
15    a Delaware Corporation, and
16    WAVELIGHT, GmbH
      a German Corporation,
17

18                   Defendants.
19
                                               FINAL JUDGMENT
20    AND RELATED COUNTERCLAIMS                Judge: Hon. James V. Selna
21                                             Dept: 10C
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                                                                           FINAL JUDGMENT
                                                               Case No. 8:15-cv-00336-JVS-JCG
Case 8:15-cv-00336-JVS-JCG Document 180 Filed 10/25/17 Page 2 of 2 Page ID #:6877



 1          This matter comes before the Court on the Parties’ Joint Request for Entry of
 2    Judgment. Upon consideration of said Request, the Court’s June 30, 2017, Order on
 3    Summary Judgment, and the record in this case, it is hereby ORDERED,
 4    ADJUDGED, and DECREED that:
 5          (1) Claims 79 and 84 of U.S. Patent No. 6,482,199 are invalid;
 6          (2) judgment is entered fully in favor of Alcon Laboratories, Inc. and
 7    WaveLight GmbH, and against Dr. Joseph Neev, as to Dr. Neev’s claim for
 8    infringement of U.S. Patent No. 6,482,199;
 9          (3) judgment is entered fully in favor of Alcon Laboratories, Inc. and
10    WaveLight GmbH, and against Dr. Joseph Neev, as to Dr. Neev’s claim for
11    infringement of U.S. Patent No. 8,523,926; and that
12          (4) Dr. Neev take nothing as to his claims against Alcon Laboratories, Inc. and
13    WaveLight GmbH.
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      Dated:      October 25, 2017          By:
17                                          Honorable James V. Selna
18                                          United States District Judge
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                                                                                FINAL JUDGMENT
                                                                    Case No. 8:15-cv-00336-JVS-JCG
